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                                                          IN THE UNITED STATES DISTRICT COURT
                                     13
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                                     14
                                                       FOR THE CENTRAL DISTRICT OF CALIFORNIA

                                     15   Kandypens, Inc., a Delaware corporation,    Case No. 2:20-cv-00358-GW-KS
                                     16
                                                              Plaintiff,              KANDYPENS, INC.’S OPPOSITION
                                     17                                               TO PUFFCO’S MOTION FOR
                                             v.
                                     18                                               PARTIAL SUMMARY JUDGMENT
                                     19
                                          Puff Corp., a Delaware corporation,

                                     20                      Defendant.
                                     21                                               District Judge: George H. Wu
                                          Puff Corp., a Delaware corporation,         Date: October 7, 2021
                                     22                                               Time: 8:30 a.m.
                                                             Counterclaimant,
                                     23                                               Place: Courtroom 9D, Ninth Floor
                                             v.                                       350 West 1st Street
                                     24                                               Los Angeles, CA 90012
                                     25   Kandypens, Inc., a Delaware corporation,    Action Filed: January 13, 2020
                                                                                      Trial Date: December 14, 2021
                                     26                      Counterdefendant.
                                     27
                                     28
                                                    KANDYPENS’ OPPOSITION TO PUFFCO’S MOTION FOR PARTIAL SUMMARY JUDGMENT
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                                          U.S. Patent No. 10,517,334 ........................................................................................ 3
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                                      1   I.    INTRODUCTION

                                      2         Puffco’s motion for partial summary judgment relies on speculative,

                                      3   uncorroborated testimony and misapprehensions of controlling law and this

                                      4   Court’s claim construction. Under any reasonable interpretation of patent law and

                                      5   applying the appropriate summary judgment standard, there exists—at a

                                      6   minimum—genuine disputes of material fact precluding summary judgment for

                                      7   Puffco on any issue in the case. Indeed, even when the facts are viewed in the light

                                      8   most favorable to Puffco, no reasonable fact-finder could determine that the ’334

                                      9   Patent is valid or that the Oura infringes. [KandyPens’ Motion for Summary

                                     10   Judgment, Dkt. #128.] But for present purposes, it is enough that Puffco cannot

                                     11   meet its burden to prevail on this motion.
                                                Puffco’s contention that its promotional activities at Pepcom in early-
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                                     13   January 2018 are not invalidating public uses relies on a gross misreading of the
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                                     14   law. While there are certain scenarios where experimental use of an invention

                                     15   outside of the lab will not count as public use, none of those limited exceptions

                                     16   apply to wholly commercial, and wholly non-confidential, public use and

                                     17   demonstration at a trade show with journalists. More than that, the press coverage

                                     18   of these demonstrations resulted in printed publications that anticipate every single

                                     19   claim limitation of the ’334 Patent.

                                     20         Similarly, Puffco’s insistence that the demonstration units’ atomizers were

                                     21   not removably attachable is unsupportable on summary judgment. For one thing,

                                     22   the claim that the atomizers were not removable is a relatively recent creation,

                                     23   coming only after Puffco had twice admitted that the Pepcom units had removably

                                     24   attachable atomizers. For another, even if the fact-finder were to indulge Puffco’s

                                     25   witnesses’ self-serving speculation that the atomizers had soldered connections, the

                                     26   atomizers would still be removably attachable under the Court’s construction of

                                     27   that term.

                                     28
                                                       KANDYPENS’ OPPOSITION TO PUFFCO’S MOTION FOR PARTIAL SUMMARY JUDGMENT
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                                      1             Puffco’s infringement case is no better. Indeed, by filing a motion for
                                      2   reconsideration of the claim construction ruling [Dkt. #130], Puffco has implicitly
                                      3   conceded that the Oura does not infringe under the current construction of “second
                                      4   container outlets.” KandyPens will address the numerous substantive and
                                      5   procedural defects in that motion in a forthcoming opposition, but suffice to say,
                                      6   the Court correctly construed “second container outlets” and under the
                                      7   construction, Puffco cannot demonstrate that the Oura infringes the ’334 Patent.
                                      8             Puffco’s motion for partial summary judgment should be denied in full.
                                      9       II.      FACTS 1
                                     10
                                                    A. Puffco Commercially Launches the Peak More than One Year
                                     11                Before Applying for a Patent.
                                     12             On January 8, 2018, Puffco was ready for the commercial launch of its Peak
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                                     13   portable electronic vaporizer. The Peak would be shown to the world at an event
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                                     14   called Pepcom, held the night before the larger Consumer Electronics Show in Las
                                     15   Vegas. To circumvent Pepcom’s prohibition against using cannabis, Puffco
                                     16   planned for a “Puffco Peak Lounge” or “Puffco Peak Suite” where Puffco could
                                     17   demonstrate the Peak for journalists and journalists could try the Peak themselves.
                                     18   (KandyPens’ Statement of Genuine Disputes (“SGD”) ¶ 57.)
                                     19             Though the first units would not be shipped to customers until a few weeks
                                     20   later, the Peak was ready for media and consumer scrutiny. The design of the Peak
                                     21   was complete, and the units brought to Pepcom were visually indistinguishable
                                     22   from the final product. Of particular importance to the instant motion, the atomizer
                                     23   design was largely finalized months earlier in September 2017. Beyond the
                                     24   atomizer, none of the Puffco personnel involved in the Peak’s development are
                                     25   1
                                            In addition to the facts set out in Part II that show, at a minimum, genuine disputes
                                     26   preventing summary judgment in any part for Puffco, KandyPens incorporates by
                                          reference the facts set out in its own Motion for Summary Judgment [Dkt. #128]
                                     27
                                          and Statement of Undisputed Material Facts [Dkt. #133-1] to the extent they are
                                     28   relevant to any issue raised by Puffco’s motion.
                                                                                    2
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                                      1   able to identify a single material difference between the Peaks used at Pepcom and
                                      2   those that were shipped to consumers in February 2018. (SGD ¶¶ 57-61.)
                                      3         Pepcom was a huge success for Puffco, drawing fawning coverage from
                                      4   Engadget, a news outlet that is a personal favorite of Puffco’s CEO, Roger
                                      5   Volodarsky. One Engadget reporter filmed himself using the Peak on the floor of
                                      6   Pepcom while Volodarsky stood nearby, then uploaded the video to YouTube that
                                      7   same day. (SGD ¶ 62.) Another Engadget reporter was invited to the Puffco Peak
                                      8   Suite and wrote about how “Volodarsky was showing off the Puffco Peak,” and
                                      9   “how it truly works.” (Id.) According to Volodarsky, he conducted multiple
                                     10   demonstrations in the hotel suite, with journalists trying out the Peak for
                                     11   themselves. (SGD ¶ 57.) Make no mistake—other than the limited purpose of
                                     12   keeping the hotel’s management ignorant of their cannabis use until after Puffco
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                                     13   checked out—there was nothing “confidential” about these demonstrations. They
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                                     14   were purely promotional in nature, and when the demonstrations had their desired
                                     15   effect of publicity, Volodarsky was “honored,” not upset about any supposed
                                     16   breach of confidentiality. (SGD ¶ 62.) Nor were these demonstrations experimental
                                     17   or tests of any sort—Puffco’s motion asserts no evidence of such a purpose, or that
                                     18   any feedback was provided after the fact. Nor would anyone expect there to be; the
                                     19   Peak was complete and ready for shipping to customers just a few weeks later.
                                     20   (SGD ¶¶ 57-61.)
                                     21         Despite the commercial launch of the Peak on January 8, 2018 and Puffco’s
                                     22   extensive publicity efforts showing off all aspects of the Peak in the ensuing week,
                                     23   Puffco waited until January 14, 2019 to apply for patent protection. To circumvent
                                     24   the one-year bar, Puffco’s submissions to the Patent Office did not say anything
                                     25   about its public demonstrations or include any news coverage of the early-January
                                     26   2018 promotional efforts. Ignorant of this invalidating prior art, the Patent Office
                                     27   issued Puffco U.S. Patent No. 10,517,334 on December 31, 2019. (SGD ¶ 63.)
                                     28
                                                                                 3
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                                      1         B. KandyPens Introduces a Differently Designed Competitor, the Oura.
                                      2         Meanwhile, distributors in the vaporizer industry noticed not just the success
                                      3   of the Peak, but its reputation for technical problems and customers’ frustration
                                      4   with Puffco’s customer service. Some distributors looked to KandyPens, one of
                                      5   Puffco’s competitors, to come out with a product with similar functionality but
                                      6   without the reliability issues. So, KandyPens set about designing a device that
                                      7   would be better than the Peak—what would become the KandyPens Oura. In
                                      8   particular, KandyPens made special effort to design the Oura’s glass and atomizer
                                      9   to be differently configured than the Peak’s. (SGD ¶ 4.)
                                     10         C. Puffco’s Changes Its Invalidity Defenses as They Prove Untenable.
                                     11         Even though the Oura’s success in the market was modest compared to the
                                     12   Peak’s, Puffco wasted no time in wielding its new patent against KandyPens,
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                                     13   sending a cease-and-desist letter on January 3, 2020. This lawsuit for a declaratory
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                                     14   judgment on invalidity followed, and so did Puffco’s counterclaim for
                                     15   infringement.
                                     16         Early discovery in this case focused on Puffco’s invalidating public use of
                                     17   the Peak before January 14, 2018 and the printed publications before that date
                                     18   revealing all features of the Peak. Puffco’s initial strategy to rebut these allegations
                                     19   was to plead ignorance—claim the prototypes were destroyed shortly after
                                     20   Pepcom, and profess wholesale lack of knowledge as to what attributes the Peaks
                                     21   demonstrated at Pepcom had beyond those visible from press coverage, while
                                     22   speculating that underneath their visually indistinguishable exteriors, the
                                     23   demonstration Peaks could have any number of unidentified differences from the
                                     24   production model. Still, Puffco twice admitted that the Peaks used by journalists at
                                     25   Pepcom had “removably attachable” atomizers. But on June 1, 2020, Puffco
                                     26   abruptly changed its story, withdrawing its admissions regarding removably
                                     27   attachable atomizers and instead claiming it could neither admit nor deny the
                                     28
                                                                                  4
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                                      1   presence of removably attachable atomizers in the demonstration Peaks. The only
                                      2   explanation proffered by Puffco was:
                                      3         Puffco believes that the prototype may not have had an atomizer that
                                      4         was removably attachable to the base. Puffco created various Peak
                                                prototypes that did not have had [sic] an atomizer that was removably
                                      5
                                                attachable to the base. During the development of the Peak and leading
                                      6         up to the 2018 Pepcom event, the Peak prototype atomizers were
                                                having various connection problems, and thus, Puffco’s prototype for
                                      7
                                                the 2018 Pepcom event may not have had an atomizer that was
                                      8         removably attachable to the base.
                                      9   (SGD ¶ 47.) Puffco waited nearly a year longer before it would disclose any
                                     10   discovery explaining what it was about those atomizers that rendered them not
                                     11   removably attachable:
                                     12         Q Okay. What was different about those Pepcom prototypes and the
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                                     13         Peak that's sitting there in front of you?
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                                     14         A It's hard to say. Like I mentioned, we make hundreds of prototypes.
                                                We take them apart. We put them together, take them apart, add
                                     15
                                                components, learn from them. So without those prototypes sitting in
                                     16         front of me, I really can't tell you exactly what's in them.
                                     17         Q Okay. Generally, can you tell me any of the differences?
                                     18
                                                A Generally, I can't. I would say when we are doing any demos,
                                     19         especially when the product is not finished, it's a very nerve racking
                                                experience, and you try to remove as much as risk as possible. So if we
                                     20
                                                were having any issues with the prototypes, which we -- which we
                                     21         clearly were, for example, a connection issue, we would try to
                                                eliminate that risk so that the demo went smoothly by hardwiring the
                                     22
                                                atomizer or changing the connection in some way.
                                     23
                                          (Id.) Elsewhere in that deposition, the witness explained that he couldn’t quite
                                     24
                                          remember how the “hardwiring” was achieved:
                                     25
                                                Q Okay. How would you hardwire an atomizer?
                                     26
                                     27
                                     28
                                                                                 5
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                                      1         A There's several ways. The easiest way would be to solder a wire to
                                                this pin in the bottom and fish that into the base and attach it directly to
                                      2         the [printed circuit board].
                                      3
                                                Q I'm sorry. Can you please describe that again?
                                      4
                                                A Sure. So one of the main connection issues that we would have is
                                      5         the contact between these two gold electrodes, the center electrodes.
                                      6         So in order to hardwire it, what we would do is attach a wire to the
                                                bottom of this electrode. So we would solder a wire on to here. We
                                      7         would remove the electrode that's in the base. We would fish that wire
                                      8         into the base and solder it directly to the PCB.

                                      9         Q How would you solder it to the PCB? While it was still inside the
                                                base?
                                     10
                                     11         A No. This would be during the assembly process.

                                     12         Q Okay. So really, it would be backwards. You'd solder it to the PCB,
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                                                and then have it go out through the –
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                                     14         A You could do it either way.

                                     15         Q Okay. How did you do it?
                                     16         A I don't specifically remember exactly how we did it. I have reviewed
                                     17         some documents, and there's some images of us actually pulling the
                                                wires just out the side here and attaching those directly to a power
                                     18         supply, but I don't remember specifically how I would do it, but
                                     19         overall, that's how. Whether we attached it to the PCB first or the
                                                atomizer first, I'm not sure.
                                     20
                                          (Id.) The Puffco engineer with primary design responsibility for the atomizer
                                     21
                                          described it differently:
                                     22
                                                Q I believe you testified earlier that the primary way you would
                                     23
                                                hardwire an atomizer during Peak development would be to solder the
                                     24         wire to the electrode on the bottom of the atomizers. Is that a fair
                                                summary?
                                     25
                                     26         MR. CROWE: Object to the form of the question.
                                     27
                                     28
                                                                                 6
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                                      1         THE WITNESS: When I would hardwire them, I would take the two
                                                wires from the circuit board, and I would put one on the electrode and
                                      2         one on the housing.
                                      3
                                                ...
                                      4
                                                Q Okay. Are there any other ways you hardwired a Peak's atomizer
                                      5         other than soldering it to the electrode and the housing as you just
                                      6         described?

                                      7         MR. CROWE: Object to the form of the question.
                                      8         THE WITNESS: Not that I recall.
                                      9   (Id.) Regardless of how Puffco claims it supposedly “hardwired” atomizers for
                                     10   Pepcom, Puffco has not produced a single document referring to hardwiring an
                                     11   atomizer, and the only photographic or video evidence of anything approaching
                                     12   “hardwiring” is a video of a Peak that has obvious external wires leading to an
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                                     13   external power source—something that obviously was not present on the Pepcom
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                                     14   Peaks.
                                     15         Shortly after these mid-May 2021 depositions, KandyPens disclosed the
                                     16   expert report of Dr. Jeff Colwell on June 4, 2021, who demonstrated that an Peak’s
                                     17   atomizer with an internal soldered connection would still be “capable of being
                                     18   detached from the base and reattached or replaced with an identical piece” because
                                     19   the atomizer’s soldered connection can be severed and reconnected. (Id.) With yet
                                     20   another attempt to dodge the consequences of its invalidating public use, Puffco
                                     21   has now filed a separate motion (Motion to Exclude Jeff D. Colwell from
                                     22   Providing Expert Testimony [Dkt. #127]) that belatedly asks the Court to re-
                                     23   construe this term to impose all manner of limitations not included in the patent
                                     24   (e.g., removability and reattachability easily accomplished by a consumer without
                                     25   tools) despite the fact that the Court has already considered and rejected this same
                                     26   argument. (Claim Construction Order [Dkt. #76] at 5-6.)
                                     27
                                     28
                                                                                    7
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                                      1         Previously, KandyPens pointed out the absence of anything in the patent
                                      2   referring to an “ordinary consumer” or even suggesting that the patent’s scope was
                                      3   limited to “consumer devices.” (KandyPens’ Opening Claim Construction Brief
                                      4   [Dkt. #65] at 11-12.) Puffco’s only counterargument was to point to expressly non-
                                      5   exclusive embodiments in the specification as reflecting “simple and routine
                                      6   removable and/or re-attachment of these components” by the end-user (Puffco’s
                                      7   Opening Claim Construction Brief [Dkt. #66] at 13; see also Puffco’s Responsive
                                      8   Claim Construction Brief [Dkt. #68] at 10 (“A POSITA would understand the
                                      9   ordinary consumer of the device to be the end user of the device, meaning the
                                     10   person who operates the device for personal enjoyment and use thereof, as opposed
                                     11   to a device designer or a repair technician.”). After receiving a Tentative Ruling
                                     12   rejecting Puffco’s effort to impose a “as part of ordinary consumer device
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                                     13   operation” limitation on the term “removably attachable,” Puffco asserted its
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                                     14   backup position that these tasks must still be accomplished by “the user” because
                                     15   certain embodiments described in the specification involve “the user” performing
                                     16   the task. (Reporter’s Tr. of Markman Hearing [Dkt. #86] at 5:20-6:18.) But after
                                     17   KandyPens pointed out that these embodiments are expressly non-limiting, the
                                     18   Court again rejected Puffco’s effort to limit the claim construction to something
                                     19   accomplished by a “user.” (Id. at 6:19-8:6.)
                                     20
                                                D. Puffco Stubbornly Insists that an Outlet Does Not Need to Be an
                                     21            “Outlet.”
                                     22         At the same time discovery was zeroing in on the lack of any verifiable
                                     23   differences between the Peaks used at Pepcom and the retail Peaks, KandyPens
                                     24   was making its primary noninfringement theory clear—the Oura doesn’t have
                                     25   “second container outlets” as that term is used in the patent. In a July 6, 2020
                                     26   interrogatory response setting out its noninfringement position in response to
                                     27   Puffco’s infringement contentions claiming that the “slits” in the ring above the
                                     28   Oura’s container were “second container outlets,” KandyPens said:
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                                                   KANDYPENS’ OPPOSITION TO PUFFCO’S MOTION FOR PARTIAL SUMMARY JUDGMENT
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                                      1                                      Disagree. The Oura's container has only one
                                                                             opening: the absent top plane of the cylinder.
                                      2   one or more second container       The single opening in the Oura container
                                      3   outlets capable of flowing the     cannot be reasonably construed as the distinct
                                          gas having the vaporizable         claim elements of a first container inlet and a
                                      4   product entrained therein into     second container outlet. Furthermore, it is
                                      5   atomizer internal flow path;       unclear what structure might be first container
                                          and                                outlet to cause second container outlet to be
                                      6                                      numbered second. Therefore, this claim
                                      7                                      element does not read on the Oura.

                                      8   (SGD ¶ 20.)

                                      9         With the parties’ respective positions on “second container outlets” made

                                     10   clear, the parties proceeded to claim construction. Recognizing that the geometry

                                     11   of the Oura is such that gas leaves the container before it enters the slits in the

                                     12   atomizer ring, Puffco pressed for “apertures or openings that serve as an outlet for
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                                     13   the container, and that are separate from the first container inlet.” (Puffco’s
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                                     14   Opening Claim Construction Brief [Dkt #66] at 19-22 (emphasis added).)

                                     15   KandyPens noted the unjustified overbreadth introduced by the modifier “serve

                                     16   as,” and demonstrated that the ’334 Patent itself requires true outlets, that is,

                                     17   openings through which gas actually exits the container. (KandyPens’ Opening

                                     18   Claim Construction Brief [Dkt. #65] at 16-19; KandyPens Responsive Claim

                                     19   Construction Brief [Dkt. #69] at 8-10.) And when Puffco made the same argument

                                     20   it makes here—“Kandypens’ proposed construction differs from Puffco in

                                     21   requiring that apertures be of the container … as opposed to Puffco’s proposed

                                     22   construction that the apertures or openings serve as an outlet for the container

                                     23   [Dkt. #66 at 19 (emphasis in original)]—KandyPens showed that the patent still

                                     24   required the outlets be apertures through which gas leaves the container even

                                     25   though there are several possible embodiments of the claims where the apertures

                                     26   are not found in the body of the container:

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                                          [Dkt. #69 at 9-11.] Puffco, meanwhile, continued to urge a looser definition to
                                     18
                                          capture openings that gas can pass through after leaving the container: “[T]o
                                     19
                                          ‘serve’ as outlets it is understood simply that the apertures or openings are capable
                                     20
                                          of allowing gas to flow out of the container.” [Puffco’s Responsive Claim
                                     21
                                          Construction Brief [Dkt. #68] at 19.] The Court acknowledged that the openings
                                     22
                                          need not be formed in the body of the container itself but rejected Puffco’s
                                     23
                                          repeated efforts to broaden the construction to not require literal outlets, giving the
                                     24
                                          term the construction, “apertures or openings through which gas leaves the
                                     25
                                          container, and that are separate from the first container inlet and may be separate
                                     26
                                          from the body of the container.” [Dkt. #76 at 8.]
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                                                   KANDYPENS’ OPPOSITION TO PUFFCO’S MOTION FOR PARTIAL SUMMARY JUDGMENT
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                                      1      III.   LEGAL ARGUMENT
                                      2         A. Summary Judgment Standard
                                      3         Though the Court is well-acquainted with the standard for summary
                                      4   judgment, it bears repeating that if there are competing reasonable inferences to be
                                      5   drawn, all such inferences must be drawn in KandyPens’ favor. See, e.g., Tekoh v.
                                      6   County of Los Angeles, 270 F. Supp. 3d 1163, 1168 (C.D. Cal. 2017). The Court
                                      7   can also only consider admissible evidence, such that conclusory and speculative
                                      8   evidence is accorded no weight. Id. Similarly, when considering whether a dispute
                                      9   is “genuine” or not, the Court must recognize the possibility that the moving
                                     10   party’s self-serving testimony may be given no weight at all by the fact-finder
                                     11   because the fact-finder need not credit such testimony. Manganella v. Evanston
                                     12   Ins. Co., 702 F.3d 68, 74-75 (1st Cir. 2012); see also Reeves v. Sanderson
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                                     13   Plumbing Prods., Inc., 530 U.S. 133, 151 (2000) (“[T]he court should give
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                                     14   credence to the evidence favoring the nonmovant as well as that ‘evidence
                                     15   supporting the moving party that is uncontradicted and unimpeached, at least to the
                                     16   extent that that evidence comes from disinterested witnesses.’”) (Quoting 9A C.
                                     17   Wright & A. Miller, Fed. Prac. & Pro. § 2529 at 300 (2d ed. 1995)).
                                     18         B. Puffco’s Promotional Efforts at Pepcom Were Public Use.
                                     19         While there are many reasons that the ’334 Patent is invalid, the simplest is
                                     20   that Puffco publicly used and displayed the Peak more than one year before it
                                     21   applied for a patent. Inventors are allowed a one-year grace period to publicly use
                                     22   and sell their inventions before applying for patent protection; if an inventor waits
                                     23   more than a year after a public use, sale, or other public display of the invention,
                                     24   the public use becomes disqualifying prior art. See 35 U.S.C. § 102(a)(1),
                                     25   (b)(1)(A).
                                     26
                                     27
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                                                    KANDYPENS’ OPPOSITION TO PUFFCO’S MOTION FOR PARTIAL SUMMARY JUDGMENT
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                                      1            “Any non-secret use of a completed and operative invention, in its natural
                                      2   and intended way, open to the public, is a public use.” Lockwood v. Am. Airlines,
                                      3   Inc., No. CIV. 91-1640-E(CM), 1995 WL 822659 at *2 (S.D. Cal. Nov. 14, 1995),
                                      4   aff'd, 107 F.3d 1565 (Fed. Cir. 1997) (citing FMC Corp. v. F.E. Myers & Bro. Co.,
                                      5   384 F.2d 4, 9 (6th Cir. 1967)). In contrast to printed publication prior art, public
                                      6   use, public display, and sales do not need to be “enabling”; in other words, the
                                      7   public need not see every feature of the invention or understand how it works. In re
                                      8   Epstein, 32 F.3d 1559, 1568 (Fed. Cir. 1994); see also Briggs & Stratton Corp. v.
                                      9   Chongqin RATO Power Co., No. 5:13-cv-0316, 2015 WL 4603553, at *4
                                     10   (N.D.N.Y. July 30, 2015) (noting that invalidity due to public use is a two part
                                     11   inquiry: (1) was there a public use, and (2) did the product used in public contain
                                     12   every limitation of the patent).
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                                     13         “Public use includes ‘any use of the [the claimed] invention by a person
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                                     14   other than the inventor who is under no limitation, restriction or obligation of
                                     15   secrecy to the inventor.’” Id. (quoting Petrolite Corp. v. Baker Hughes Inc., 96
                                     16   F.3d 1423, 1425 (Fed. Cir. 1996)). Public use also includes displaying a product at
                                     17   a trade show. Adenta GmbH v. OrthoArm, Inc., 501 F.3d 1364, 1371 (Fed. Cir.
                                     18   2007).
                                     19         The only time use of an invention in public or by someone other than the
                                     20   inventor is not invalidating public use is when those using or viewing the invention
                                     21   have agreed to keep it a secret against the rest of the world, or when the nature of
                                     22   the invention is such that it cannot be tested except in public and the public
                                     23   remains ignorant of the invention. Polara Eng’g Inc. v. Campbell Co., 894 F.3d
                                     24   1339, 1348-48 (Fed. Cir. 2018). Indeed, each of the three cases cited in Puffco’s
                                     25   motion for the proposition that alleged public uses must be enabling involve
                                     26   experimental or confidential use. Dey, L.P. v. Sunovian Pharms., Inc., 715, F.3d
                                     27   1351, 1354 (Fed. Cir. 2012) (alleged public use was a clinical trial of a drug);
                                     28
                                                                                  12
                                                     KANDYPENS’ OPPOSITION TO PUFFCO’S MOTION FOR PARTIAL SUMMARY JUDGMENT
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                                      1   Janssen Pharmaceutia, N.V. v. Eon Labs Mfg., Inc., 134 F. App’x 425, 430-31
                                      2   (Fed. Cir. 2005) (same); W.L. Gore & Assocs., Inc. v. Garlock, Inc., 721 F.2d
                                      3   1540, 1549-50 (Fed. Cir. 1983) (use of invention was by a user who signed
                                      4   confidentiality agreement, in presence of those who also signed confidentiality
                                      5   agreements).
                                      6         None of the experimental or confidential use cases approach the brazen
                                      7   promotional public use by Puffco in this case. Puffco does not even allege that its
                                      8   activities at Pepcom were for any purpose other than drawing public attention to
                                      9   the Peak. It was nothing short of a commercial launch, and any suggestion
                                     10   otherwise can’t even withstand KandyPens’ motion for summary judgment on this
                                     11   issue, let alone require summary judgment for Puffco.
                                     12         C. The Pepcom Units Practiced Every Limitation of the ’334 Patent.
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                                     13         The second part of the public use inquiry, once the non-secret use is
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                                     14   established, is whether the product used in public contained every limitation of the
                                     15   patent. Briggs & Stratton, 2015 WL 4603553, at *4; see also Epstein, 32 F.3d at
                                     16   1568 (“Beyond this ‘in public use or on sale’ finding, there is no requirement for
                                     17   an enablement-type inquiry.”).
                                     18         Given that it is supported only by Puffco’s witnesses own speculative and
                                     19   uncorroborated testimony, the Court cannot find that Puffco has established the
                                     20   absence of a genuine dispute on the issue of whether the Pepcom demonstration
                                     21   Peaks differed in any meaningful way from the retail units which admittedly
                                     22   practice every claim of the ’334 Patent. This is especially true when, before
                                     23   coming forward with the speculative, self-serving testimony, Puffco twice admitted
                                     24   that the demonstration Peaks had removably attachable atomizers. (SGD ¶ 47.)
                                     25         Puffco brought two Peak units to Pepcom just a month before shipping
                                     26   Peaks to customers. The Pepcom demonstration units are visually indistinguishable
                                     27   from the units shipped to customers. The only possible difference argued in
                                     28
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                                                   KANDYPENS’ OPPOSITION TO PUFFCO’S MOTION FOR PARTIAL SUMMARY JUDGMENT
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                                      1   Puffco’s motion is that instead of connecting the atomizer to the base with a
                                      2   threaded connection, the connection was achieved with soldered wires. (SGD
                                      3   ¶¶ 47, 57-61.) On summary judgment, the Court cannot give Puffco the inference
                                      4   that of the two competing stories Puffco has told about the atomizers at Pepcom,
                                      5   the jury would believe the latter, self-serving, uncorroborated story. But even if it
                                      6   were undisputed that the atomizers had soldered connections, a soldered
                                      7   connection (or even two soldered connections) does not make the atomizer not
                                      8   “removably attachable” under the Court’s construction of “capable of being
                                      9   detached from the base and reattached or replaced with an identical piece” because
                                     10   the atomizer can still be detached and reinstalled (or replaced) by cutting or
                                     11   melting the soldered connection and then re-soldering a new connection.2 Thus,
                                     12   even if the Court were to credit Puffco’s new story—and it shouldn’t—the Peaks
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                                     13   demonstrated at Pepcom still had removably attachable atomizers, and Puffco is
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                                     14   not entitled to summary judgment on this issue.
                                     15
                                                D. Press Coverage of Pepcom Disclosed All Limitations of the ’334
                                     16            Patent.
                                     17         Even if Puffco had been cautious enough to avoid public use of the Peak at
                                     18   Pepcom, the press coverage Puffco successfully obtained resulted in printed
                                     19   publications that disclose every limitation of the ’334 Patent. While it is true that
                                     20   none of the prior art references expressly disclose each limitation of the ’334
                                     21   Patent, each reference still discloses all remaining limitations implicitly or
                                     22   inherently. (SGD ¶ 50.)
                                     23         “[A] prior art reference may anticipate without disclosing a feature of the
                                     24   claimed invention if that missing feature is necessarily present, or inherent, in the
                                     25
                                     26   2
                                            In Puffco’s Motion to Exclude Jeff D. Colwell [Dkt. #127], Puffco attempts to
                                          relitigate the construction of “removably attachable.” KandyPens’ opposition to that
                                     27
                                          motion, filed contemporaneously with this opposition, addresses the procedural and
                                     28   substantive infirmities of that attempt.
                                                                                14
                                                   KANDYPENS’ OPPOSITION TO PUFFCO’S MOTION FOR PARTIAL SUMMARY JUDGMENT
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                                      1   single anticipating reference.” Novo Nordisk Pharms., Inc. v. Bio-Tech. Gen.
                                      2   Corp., 424 F.3d 1347, 1355 (Fed. Cir. 2005). “Under the principles of inherency, if
                                      3   the prior art necessarily functions in accordance with, or includes, the claims
                                      4   limitations, it anticipates.” Perricon v. Medicis Pharm. Corp., 432 F.3d 1368, 1376
                                      5   (Fed. Cir. 2005). Implicit disclosure, meanwhile, occurs when one skilled in the art
                                      6   reasonably infers the presence of a limitation from something visible in the
                                      7   reference. See, e.g., ArcelorMittal France v. AK Steel Corp., 811 F. Supp. 2d 960,
                                      8   967 (D. Del. 2011) (noting that anticipation is assessed in light of what a person of
                                      9   ordinary skill in the art would understand from the reference, including his or her
                                     10   inferences), rev’d on other grounds, 700 F.3d 1314, 1322-24 (Fed. Cir. 2012).
                                     11         In other words, a reference need not spell out or depict every single
                                     12   limitation; it is enough that a person of ordinary skill in the art would recognize the
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                                     13   possibility of the limitation in the reference. Rather, “the dispositive question
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                                     14   regarding anticipation is whether one skilled in the art would reasonably
                                     15   understand or infer from the prior art reference’s teaching that every claim element
                                     16   was disclosed in that single reference.” Dayco Prod., Inc. v. Total Containment,
                                     17   Inc., 329 F.3d 1358, 1368 (Fed. Cir. 2003) (internal citation omitted, cleaned up).
                                     18   Accordingly, while the printed publications do not expressly depict, for example, a
                                     19   “removably attachable atomizer” or an inner “gas flow conduit,” the articles,
                                     20   pictures and videos published before January 14, 2018 make clear that those claim
                                     21   limitations necessarily, or at least probably, exist for the Peak to operate. In the
                                     22   context of Puffco’s motion for summary judgment, this Court must, at a minimum,
                                     23   find that the fact-finder could credit Gibson’s testimony about how each printed
                                     24   publication at issue discloses each limitation of the ’334 Patent. The Court must
                                     25   deny summary judgment to Puffco on this issue.
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                                                   KANDYPENS’ OPPOSITION TO PUFFCO’S MOTION FOR PARTIAL SUMMARY JUDGMENT
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                                      1         E. The Oura Does Not Infringe Any Claim of the ’334 Patent.
                                      2         By spending the bulk of its motion on the supposed copying of the Peak, and
                                      3   the supposed similarities of the Oura to the Peak or embodiments in the ’334
                                      4   Patent’s specification, Puffco implicitly concedes that the Oura does not infringe
                                      5   under the infringement analysis mandated by the Federal Circuit. If Puffco
                                      6   believed it could establish infringement under the Federal Circuit’s test, it would
                                      7   not have gone to so much effort to misdirect the Court.
                                      8         “Infringement, literal or by equivalence, is determined by comparing an
                                      9   accused product not with a preferred embodiment described in the specification, or
                                     10   with a commercialized embodiment of the patentee, but with the properly and
                                     11   previously construed claims in suit.” SRI Int’l v. Matsushita Elec. Corp., 775 F.2d
                                     12   1107, 1121 (Fed. Cir. 1985); see also EcoServices, LLC v. Certified Aviation Servs.,
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                                     13   LLC, 312 F. Supp. 3d 830, 836 (C.D. Cal. 2018) (A determination whether an
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                                     14   accused product literally infringes a patent’s claims, “‘requires a comparison of the
                                     15   properly construed claim to the accused device.’”) (quoting Power Mosfet Techs.,
                                     16   L.L.C. v. Siemens AG, 378 F.3d 1396, 1406 (Fed. Cir. 2004)); Loctite Corp. v.
                                     17   Ultraseal Ltd., 781 F.2d 861, 870 (Fed. Cir. 1985) (“As a threshold matter, the
                                     18   district court compared PC504 with Loctite’s commercial embodiment, and that is
                                     19   error.”), overruled on other grounds by Nobelpharma AB v. Implant Innovations,
                                     20   Inc., 141 F.3d 1059 (Fed. Cir. 1998); Teledyne McCormick Selph v. United States,
                                     21   558 F.2d 1000, 1007 (Ct. Cl. 1977) (describing a plaintiff’s attempt to prove
                                     22   infringement by comparison of the accused product to its own device as “folly”);
                                     23   Tektronix, Inc. v. United States, 179 U.S.P.Q. 703 (Ct. Cl. 1973) (“[P]laintiff’s right
                                     24   to compensation [for patent infringement] is ultimately dependent on a comparison
                                     25   between a commercial device and the claims of the patent, not on a comparison of
                                     26   two commercial devices.”). To be clear, it is equally error to compare the Oura to
                                     27   the ’334 Patent’s figures. See EMC Corp. v. Pure Storage, Inc., No. CV 13-1985-
                                     28
                                                                                16
                                                   KANDYPENS’ OPPOSITION TO PUFFCO’S MOTION FOR PARTIAL SUMMARY JUDGMENT
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                                      1   RGA, 2016 WL 775742, at *4 (D. Del. Feb. 25, 2016) (“Suggesting, incorrectly,
                                      2   that literal infringement can be established by comparing accused products with
                                      3   specification or commercial embodiments would risk unfair prejudice….”).
                                      4         Whether the Oura is a “copy” of the Peak, or whether the Oura and the Peak
                                      5   have analogous structures, is completely irrelevant to infringement. Nor is it of any
                                      6   import if there are similarities between the Oura and the patent’s figures. Because
                                      7   Puffco relies on nothing more than the flawed analysis of retained expert Richard
                                      8   Meyst (whose testimony should be excluded when the Court grants KandyPens’
                                      9   pending motion on this issue), Puffco has failed to show that the Oura infringes and
                                     10   is not entitled to summary judgment on this issue.
                                     11         Here, KandyPens is accused of infringing claims 1-11 and 13 of the ’334
                                     12   Patent, all of which require the presence of one or more “second container outlets.”3
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                                     13   This Court has construed the term “second container outlets” to require actual
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                                     14   outlets, that is, “apertures or openings through which gas leaves the container, and
                                     15   that are separate from the first container inlet and may be separate from the body of
                                     16   the container.”
                                     17         Puffco’s filing of a motion for reconsideration of this construction is an
                                     18   implicit concession that the Oura’s slits are not the apertures through which gas
                                     19   leaves the container, and thus, as presently construed, the Oura does not have
                                     20   “second container outlets” and does not infringe any claim of the ’334 Patent. As
                                     21   with Puffco’s desperate attempt to relitigate the construction of “removably
                                     22   attachable” via its motion to exclude Dr. Colwell, the motion for reconsideration is
                                     23   similarly deficient for a number of procedural and substantive reasons. Those
                                     24
                                     25   3
                                            This limitation is found in claim 1, on which claims 2-11 depend. Claim 13 uses
                                     26   the term “container outlets,” but Puffco contends that the same slits in the Oura that
                                          allegedly constitute “second container outlets” constitute claim 13’s “container
                                     27
                                          outlets.” The Oura lacks “container outlets” for the same reason it lacks “second
                                     28   container outlets”: the slits are not “outlets” of the container at all.
                                                                                17
                                                   KANDYPENS’ OPPOSITION TO PUFFCO’S MOTION FOR PARTIAL SUMMARY JUDGMENT
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                                      1   deficiencies will be set out in KandyPens’ forthcoming opposition on September
                                      2   16, 2021. For present purposes, under the present construction, Puffco has failed to
                                      3   show the existence of “second container outlets” and its motion for summary
                                      4   judgment on infringement must fail.
                                      5            Puffco’s efforts to confuse the issue of what “second container outlets”
                                      6   really means are unavailing. First, Puffco tries to draw attention away from the
                                      7   Court’s construction of the term “second container outlets” by focusing on the
                                      8   claim’s next limitation: “capable of flowing the gas having the vaporizable product
                                      9   entrained therein into the atomizer internal flow path.” But as the Court has already
                                     10   ruled, this claim limitation does not define the previous claim limitation of “second
                                     11   container outlets.” In order to infringe, the Oura must (1) have “second container
                                     12   outlets,” and (2) those “second container outlets” must be “capable of flowing the
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                                     13   gas having the vaporizable product entrained therein into the atomizer internal flow
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                                     14   path.” There is no dispute that the Oura’s slits are capable of flowing gas into the
                                     15   atomzier’s internal flow path, but that does not render the Oura infringing because
                                     16   it still lacks “apertures or openings through which gas leaves the container.” (SGD
                                     17   ¶ 20.)
                                     18            Second, the final part of the Court’s construction of “second container
                                     19   outlets” (“…and may be separate from the body of the container”) does not nullify
                                     20   the first part of the construction (“apertures or openings through which gas leaves
                                     21   the container”). Here, Puffco nakedly asserts that “Logically, if the second
                                     22   container outlets are separate from the body of the container, the vapor must have
                                     23   left the container before reaching the second container outlets.” (Dkt. #125 at
                                     24   13:10-12.) But there’s nothing about “logic” that compels this finding, as
                                     25   KandyPens already showed in claim construction briefing that there is at least one
                                     26   possible embodiment where the apertures are separate from the body of the
                                     27   container yet still remain true “outlets”:
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                                                     KANDYPENS’ OPPOSITION TO PUFFCO’S MOTION FOR PARTIAL SUMMARY JUDGMENT
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                                      8   [Dkt. #69 at 9.] There are many other possible embodiments where the second

                                      9   container outlets are separate from the body of the container and yet remain true

                                     10   outlets. For example, the second container outlets could be hoses that extend down

                                     11   into the container’s void. Or the openings in the ring could more subtly overlap the

                                     12   top opening of the container than in the figure above—indeed, that appears to be
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                                     13   what is illustrated in Figures 3, 5, 6A, and 6B of the ’334 Patent. Regardless,
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                                     14   Puffco’s insistence that “may be separate from the body of the container” means

                                     15   that gas need not actually leave the container through the openings is contrary to

                                     16   the Court’s construction, unsupported by any evidence, and is not compelled by

                                     17   logic.

                                     18            Finally, Puffco’s complaint that Dr. Colwell confined his analysis to the

                                     19   Court’s construction of the term “second container outlet’ rather than trying to

                                     20   engage in his own claim construction is entirely upside down. Dr. Colwell’s

                                     21   acceptance of the Court’s construction is what is required of experts, and experts

                                     22   who attempt to contextualize the Court’s construction by reference to the patent or

                                     23   extrinsic evidence are not allowed to testify because they are impermissibly

                                     24   engaging in claim construction. See, e.g., EMC Corp., 2016 WL 775742, at *3-4

                                     25   (granting motion in limine excluding testimony of experts concerning meaning of

                                     26   claim terms based on analysis of embodiments); MediaTek Inc. v. Freescale

                                     27   Semiconductor, Inc., No.: 11-cv-5341 YGR, 2014 WL 971765 (N.D. Cal. Mar. 5,

                                     28   2014) (granting motion in limine to exclude expert testimony about specification to
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                                                     KANDYPENS’ OPPOSITION TO PUFFCO’S MOTION FOR PARTIAL SUMMARY JUDGMENT
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                                      1   explain meaning of term not previously identified for claim construction). Put
                                      2   bluntly, Dr. Colwell’s refusal to second-guess the Court’s construction by referring
                                      3   to other parts of the patent is a feature, not a bug. Puffco’s motion for summary
                                      4   judgment on infringement must be denied.
                                      5      IV.   CONCLUSION
                                      6         Puffco’s arguments are a classic case of desperate times calling for desperate
                                      7   measures. Having reached the end of the case and knowing that KandyPens’
                                      8   invalidity and noninfringmenet positions will inevitably prevail under the Court’s
                                      9   claim constructions from November 2020, Puffco filed a fusillade of motions
                                     10   asking this Court to turn Federal Circuit precedent on its head by comparing the
                                     11   Oura to the Peak, and then using those comparisons to re-construe the ’334 Patent
                                     12   to (1) render it not anticipated by Puffco’s public use of the Peak more than one
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                                     13   year before the application and (2) render the Oura infringing due to its similarity
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                                     14   to the Peak. But that’s not how any of this works.
                                     15         Substantively, claim construction depends primarily on the language of the
                                     16   patent itself, and the inventors’ intent or their alleged commercial embodiments are
                                     17   completely irrelevant. Procedurally, claim construction occurs early in the case
                                     18   following a broad mandatory disclosure regime aimed at preventing sandbagging
                                     19   and promote the early resolution of patent cases. The Court can revisit the ruling,
                                     20   of course, but only when a party demonstrates entitlement to reconsideration under
                                     21   the Local Rules’ standards for motions for reconsideration and the Patent Local
                                     22   Rules’ standards for modifying the schedule for claim construction. In none of its
                                     23   pending motions did Puffco attempt such a showing, and for good reason—Puffco
                                     24   isn’t bringing anything new to the table. Puffco is just rehashing arguments already
                                     25   rejected by the Court, supported by evidence that’s been in Puffco’s control for a
                                     26   long time. Puffco’s decision to wait until after the close of discovery and the
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                                                   KANDYPENS’ OPPOSITION TO PUFFCO’S MOTION FOR PARTIAL SUMMARY JUDGMENT
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                                      1   deadline for filing dispositive motions to seek reconsideration of the claim
                                      2   construction rulings reveals its desperation.
                                      3         As set out in KandyPens’ motion for summary judgment, the facts here are
                                      4   so one-sided that the Court should enter judgment in favor of KandyPens on all
                                      5   claims. But at a minimum, Puffco is not entitled to summary judgment on any
                                      6   issue raised in its motion, and it should be denied in full.
                                      7
                                      8
                                                DATED this 8th day of September 2021,
                                      9
                                     10                                       KERCSMAR FELTUS & COLLINS PLLC
                                     11
                                     12                                       By: s/ Sean J. O’Hara
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